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                        BEFORE THE UNITED STATES
               JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 IN RE: FTX Cryptocurrency Exchange                          MDL Docket 3076
 Collapse Litigation

                                      PROOF OF SERVICE

        In accordance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, the undersigned hereby certifies that on April 17, 2023, copies

of the Notice of Potential Tag Along Actions were filed electronically through the CM/ECF

system, and copies of same were sent by USPS and/or Email to all parties on the attached service

list.


 US District Court for the Southern District of Florida
 Wilkie D. Ferguson, Jr. United States Courthouse
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                               Garrison et al v Paffrath et al
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Dated: April 17, 2023               Respectfully submitted,

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